                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                 WESTERN DIVISION
                                Consolidated Civil Action

RALEIGH WAKE CITIZENS ASSOCIATION,                    )
et al.                                                )
                                                      )
                       Plaintiffs,                    )
                                                      )              No. 5:15-cv-156
               v.                                     )
                                                      )
WAKE COUNTY BOARD OF ELECTIONS,                       )
                                                      )
                       Defendant.                     )


CALLA WRIGHT, et al.                      )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )                          No. 5:13-cv-607
                                          )
STATE OF NORTH CAROLINA, et al.           )
                                          )
                  Defendant.              )
__________________________________________)


                              [PROPOSED] CONSENT DECREE

       These consolidated cases arose as one-person, one-vote challenges to North Carolina

Session Laws 2013-110 and 2015-4, which were local enactments providing for redistricting of

the Wake County Board of Education and Wake County Board of Commissioners, respectively.

In July 2016, the United States Court of Appeals for the Fourth Circuit held that those redistricting

plans violated the one-person, one-vote principle in the United States Constitution and the North

Carolina Constitution, and in August 2016 this Court enjoined their use in future elections. See




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Raleigh Wake Citizens Ass’n v. Wake Cnty. Bd. of Elections, 827 F.3d 333 (4th Cir. 2016); Aug.

9, 2016 Order, No. 5:15-cv-156, D.E. 104.1

       Because of the short timeframe between the August 9, 2016 Order and elections for both

boards in November 2016, the Court ordered the Wake County Board of Elections to administer

the 2016 elections using the districting plans adopted in 2011, which had been used in the previous

elections for both boards. In its August 9, 2016 Order, the Court limited use of the 2011 plans to

the 2016 elections for all nine seats for the Board of Education and for residency districts 4, 5, and

6 for the Board of Commissioners. [D.E. 104]. The Court further stated that it “expect[ed] the

General Assembly to enact an appropriate and constitutional system for electing the Wake County

School Board and Wake County Board of Commissioners upon returning in January 2017.” [D.E.

104 at 37].

       As of the date of this consent decree, the General Assembly has not enacted new districting

plans for electing the Board of Education and Board of Commissioners. As a result, the Wake

County Board of Elections is without districts to use in the approaching elections for the Board of

Education and Board of Commissioners. Without districting plans, the Wake County Board of

Elections is unable to carry out its statutory duty to administer elections for those two boards, for

which candidate filing begins on February 12, 2018 for the Board of Commissioners and in June

2018 for the Board of Education. Although the General Assembly is scheduled to return for an

abbreviated session beginning January 10, 2018, it does not return for its regularly scheduled short

session until May 16, 2018.

       To allow for orderly administration of elections, the parties have moved the Court to extend

the districting plan adopted by the Court in its August 9, 2016 Order and enter this consent decree,


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           This decree references docket entries as they appear in Civil Action No. 5:15-cv-156.
                                                   2

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the terms of which will be in effect until the General Assembly takes action or, if it does not act,

until the return of the 2020 decennial census. This consent decree relieves Defendant of the need

to repeatedly approach this Court for authority to conduct elections, and provides confidence and

consistency for Wake County voters and candidates in the electoral districts that will be used to

elect members of the Board of Commissioners and Board of Education. Additionally, Defendant

seeks to limit any future liability for fees that Plaintiffs may seek and obtain relating to future work

on remedial proceedings in this case, and the entry of such a decree resolving any outstanding

controversy between the parties to the litigation would accomplish that goal.

        Therefore, to ensure consistency and order in elections for the Board of Commissioners

and Board of Education—the parties having freely given their consent, and the terms of this

consent decree being fair, just, and reasonable—it is hereby ordered, adjudged, and decreed that:

        1.       Beginning with the 2018 elections for the Wake County Board of Commissioners

and continuing until the North Carolina General Assembly shall duly adopt a constitutional

redistricting plan, but no later than the return of the 2020 decennial census, the Wake County Board

of Elections shall conduct primary and general elections for the Board of Commissioners using the

2011 redistricting plan that was used in the 2014 and 2016 Wake County Board of Commissioners

elections.

        2.       In 2018, candidates for the Board of Commissioners will run in residency districts

1, 2, 3, 4, 5, 6, and 7. Candidates will be elected countywide in partisan elections in accordance

with the election schedule for primary and general elections provided in North Carolina General

Statute § 163-1. Candidates for Board of Commissioners shall file notices for candidacy with the

Wake County Board of Elections in accordance with the filing period for primary elections.




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       3.       The elected candidates for Board of Commissioners from the seven residency

districts will serve two-year terms. The General Assembly retains discretion to extend the terms

of office of any incumbent elected to the Board of Commissioners.

       4.       Beginning with the 2018 elections for the Wake County Board of Education and

continuing until the North Carolina General Assembly shall duly adopt a constitutional

redistricting plan, but no later than the return of the 2020 decennial census, the Wake County Board

of Elections shall conduct elections for the Board of Education using the 2011 redistricting plan

that was used in the 2013 and 2016 Wake County Board of Education elections.

       5.       In 2018, candidates for the Board of Education will run in single-member districts

1, 2, 3, 4, 5, 6, 7, 8, and 9. Candidates will be elected in nonpartisan plurality elections by the

voters of the single-member district in which the candidate resides. The schedule for election shall

shall coincide with the general election for county officers in even-numbered years in accordance

with North Carolina General Statute § 163. There will be no run off elections. Candidates for

Board of Education shall file notices for candidacy with the Wake County Board of Elections no

earlier than 12:00 noon on the second Monday in June and no later than 12:00 noon on the first

Friday in July (except if that is the 4th day of July then at 12:00 noon on the next business day)

preceding the election.

       6.       The elected Board of Education candidates from the nine single-member districts

will serve two-year terms. The General Assembly retains discretion to extend the terms of office

of any incumbent elected to the Board of Education.

       7.       The Wake County Board of Elections will immediately implement the election

plans for the Board of Commissioners and Board of Education as described in paragraphs 1-6

above in order to ensure timely and orderly elections in 2018.



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       8.       Nothing in this consent decree constrains the General Assembly’s ability to duly

enact redistricting plans or other legislation affecting elections for the Board of Commissioners or

Board of Education in 2018 or any future year.




So ordered.




______________________________                       _____________________________
Date                                                 United States Chief District Judge


Agreed:
 /s/ Charles F. Marshall                             /s/ Allison J. Riggs, by permission
 Charles F. Marshall                                 Allison J. Riggs
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